UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 In re:

 ABSOLUT FACILITIES MANAGEMENT,                    Chapter 11
 LLC,
                                                   Case No. 19-76260-ast
               Debtors.
 EQUAL EMPLOYMENT OPPORTUNITY                      Adv. Proc. No. 20-08055-ast
 COMMISSION,
                                                   RESPONSES AND OBJECTIONS
                        Plaintiff,                 TO PLAINTIFF’S FIRST SET OF
                                                   REQUESTS FOR PRODUCTION
          - against -

 ABSOLUT FACILITIES MANAGEMENT,
 LLC, ABSOLUT CENTER FOR NURSING
 AND REHABILITATION AT ALLEGANY,
 LLC, ABSOLUT CENTER FOR NURSING
 AND REHABILITATION AT AURORA
 PARK, LLC, ABSOLUT CENTER FOR
 NURSING AND REHABILITATION AT
 GASPORT, LLC, ABSOLUT AT
 ORCHARD BROOKE, LLC, ABSOLUT
 CENTER FOR NURSING AND
 REHABILITATION AT ORCHARD PARK,
 LLC, ABSOLUT CENTER FOR NURSING
 AND REHABILITATION AT THREE
 RIVERS, LLC, and ABSOLUT CENTER
 FOR NURSING AND REHABILITATION
 AT WESTFIELD, LLC,

                        Defendants.

                                OBJECTION TO DEFINITIONS

Defendants object to the definition (at ¶I) of “Absolut” insofar as it includes “Affiliates,” a term
whose definition (at ¶K) could be construed to include affiliates of Defendants’ former CEO Israel
Sherman, over which Defendants (managed by the Plan Administrator and Responsible Officer,
under Defendants’ chapter 11 plan) do not exercise control, such as Avante Care Management
LLC and Billit Accounting & Information Technology LLC. In responding to these requests,
Defendants will construe the term “Absolut” as referring to Defendants and their post-confirmation
officers and employees, agents, representatives and attorneys.
                                    SPECIFIC OBJECTIONS

Request #1

       A copy of the Claim, and any corresponding or attached documents, submitted by
       Absolut to its insurance carrier.

Response

Defendants object to this request on the ground that it seeks documents that are not relevant to any
party’s claim or defense. The consent decree is fully integrated and Plaintiff has not identified any
ambiguity therein. Parol evidence is therefore irrelevant. E.g. Cement and Concrete Workers Dis.
Council Pension Fund v. Ulico Cas. Co., 387 F. Supp. 2d 175, 183 (E.D.N.Y. 2005), aff’d, 199
Fed. App’x 29 (2d Cir. 2006) (quoting Alfin, Inc. v. Pacific Ins. Co., 735 F. Supp. 115, 120
(S.D.N.Y. 1990)) (a defendant’s “subjective views … never communicated to [litigation
adversary] until … litigation cannot establish the parties’ intent … Thus, even if the [agreement]
were ambiguous much of the information that the plaintiffs likely would have discovered would
have been irrelevant to the court’s analysis”); Tom Doherty Assocs. Inc. v. Saban Ent. Inc., 869 F.
Supp. 1130, 1137, 1139 (S.D.N.Y. 1994) (the “unexpressed subjective intent of one party”
is “irrelevant to contract interpretation”). Defendants further object on the ground that this request
is not proportional to the needs of this case, considering the parties’ relative access to relevant
information and whether the burden or expense of the proposed discovery outweighs its likely
benefit, for two reasons. First, Plaintiff previously served a document subpoena on Chubb
requesting this same information, and Chubb appears to have produced documents in response.
Despite request Plaintiff has not advised if the documents sought by this request were included in
Chubb’s production. Second, responsive documents would be in custody of Avante Care
Management LLC (not Defendants) which together with Billit Accounting & Information
Technology LLC managed Defendants prior to the RCS transaction. Defendants are not producing
documents in response to this request.

Request #2

       Any communications between any employee, agent, officer or representative of
       Chubb and any employee, agent, officer or representative of Absolut concerning i)
       the Claim; ii) the Settlement Funds; and iii) creation of the Settlement Account.

Response

Defendants object to this request on the ground that it seeks documents that are not relevant to any
party’s claim or defense. The consent decree is fully integrated and Plaintiff has not identified any
ambiguity therein. Parol evidence is therefore irrelevant. E.g. Cement and Concrete Workers, 387
F. Supp. 2d at 183; Tom Doherty, 869 F. Supp. at 1137, 1139 (each quoted above). Defendants
further object on the ground that this request is not proportional to the needs of this case,
considering the parties’ relative access to relevant information and whether the burden or expense
of the proposed discovery outweighs its likely benefit, for two reasons. First, Plaintiff previously
served a document subpoena on Chubb requesting this same information, and Chubb appears to
have produced documents in response. Despite request Plaintiff has not advised if the documents
sought by this request were included in Chubb’s production. Second, responsive documents would
be in custody of Avante Care Management LLC (not Defendants) which together with Billit
Accounting & Information Technology LLC managed Defendants prior to the RCS transaction.
Defendants are not producing documents in response to this request.

Request #3

       Any communications between employees, agents, officers or representatives of
       Absolut concerning i) the Claim; ii) the Settlement Funds; and iii) creation of the
       Settlement Account.

Response

Defendants object to this request on the ground that it seeks documents that are not relevant to any
party’s claim or defense. The consent decree is fully integrated and Plaintiff has not identified any
ambiguity therein. Parol evidence is therefore irrelevant. E.g. Cement and Concrete Workers, 387
F. Supp. 2d at 183; Tom Doherty, 869 F. Supp. at 1137, 1139 (each quoted above). This request
is also not proportional to the needs of the case, considering the parties’ relative access to relevant
information and whether the burden or expense of the proposed discovery outweighs its likely
benefit, because responsive documents would be in custody of Avante Care Management LLC
(not Defendants) which together with Billit Accounting & Information Technology LLC managed
Defendants prior to the RCS transaction. Defendants are not producing documents in response to
this request.

Request #4

       Any communications between Absolut and any employee, agent or representative
       of Absolut concerning i) the Claim; ii) the Settlement Funds; and iii) creation of the
       Settlement Account.

Response

Defendants object to this request on the ground that it seeks documents that are not relevant to any
party’s claim or defense. The consent decree is fully integrated and Plaintiff has not identified any
ambiguity therein. Parol evidence is therefore irrelevant. E.g. Cement and Concrete Workers, 387
F. Supp. 2d at 183; Tom Doherty, 869 F. Supp. at 1137, 1139 (each quoted above). This request
is also not proportional to the needs of the case, considering the parties’ relative access to relevant
information and whether the burden or expense of the proposed discovery outweighs its likely
benefit, because responsive documents would be in custody of Avante Care Management LLC
(not Defendants) which together with Billit Accounting & Information Technology LLC managed
Defendants prior to the RCS transaction. Defendants are not producing documents in response to
this request.

Request #5

       Documents reflecting payment of the Settlement Funds.
Response

Defendants object to this request on the ground that it is not proportional to the needs of the case,
considering the parties’ relative access to relevant information, it being the case that Dkt. 1-2
includes a deposit slip reflecting that the Settlement Funds were deposited into the Settlement
Account. Defendants are not producing documents in response to this request.

Request #6

       Any documents, including communications between employees, agents, officers or
       representatives of Absolut, concerning the decision to name the Settlement Account
       “Settlement Funds Escrow Account”

Response

Defendants object to this request on the ground that it seeks documents that are not relevant to any
party’s claim or defense. The consent decree is fully integrated and Plaintiff has not identified any
ambiguity therein. Parol evidence is therefore irrelevant. E.g. Cement and Concrete Workers, 387
F. Supp. 2d at 183; Tom Doherty, 869 F. Supp. at 1137, 1139 (each quoted above). This request
is also not proportional to the needs of the case, considering the parties’ relative access to relevant
information and whether the burden or expense of the proposed discovery outweighs its likely
benefit, because responsive documents would be in custody of Avante Care Management LLC
(not Defendants) which together with Billit Accounting & Information Technology LLC managed
Defendants prior to the RCS transaction. Defendants are not producing documents in response to
this request.

Request #7

       Any documents, including communications between employees, agents, officers or
       representatives of Absolut, concerning the decision to change the Settlement
       Account into an account that incurs a monthly fee.

Response

Defendants object to this request on the ground that it is based on the false premise that the
Settlement Account was changed to one that incurs a monthly fee. (See Response to Request #5.)
Defendants also object on the ground that this request seeks documents that are not relevant to any
party’s claim or defense, in that incurrence of a monthly fee is not the basis for Plaintiff’s claims,
nor even mentioned in the complaint. This request is also not proportional to the needs of the case,
considering the parties’ relative access to relevant information and whether the burden or expense
of the proposed discovery outweighs its likely benefit, because responsive documents would be in
custody of Avante Care Management LLC (not Defendants) which together with Billit Accounting
& Information Technology LLC managed Defendants prior to the RCS transaction. Defendants
are not producing documents in response to this request.
Request #8

       Any communications between employees, agents, officers or representatives of
       Absolut and employees, agents, officers or representatives of M&T Bank
       concerning the Settlement Account.

Response

Defendants object to this request on the ground that it seeks documents that are not relevant to any
party’s claim or defense. The consent decree is fully integrated and Plaintiff has not identified any
ambiguity therein. Parol evidence is therefore irrelevant. E.g. Cement and Concrete Workers, 387
F. Supp. 2d at 183; Tom Doherty, 869 F. Supp. at 1137, 1139 (each quoted above). This request
is also not proportional to the needs of the case, considering the parties’ relative access to relevant
information and whether the burden or expense of the proposed discovery outweighs its likely
benefit, because responsive documents would be in custody of Avante Care Management LLC
(not Defendants) which together with Billit Accounting & Information Technology LLC managed
Defendants prior to the RCS transaction. Defendants are not producing documents in response to
this request.


Dated: New York, New York                              AMINI LLC
       July 5, 2022
                                                       /s/ Jeffrey Chubak
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